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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Ajmane
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Balidemic
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
                              Amy Balidemic
     doing business as names. Ajmane Amy Balidemic
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4020
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Ajmane Balidemic                                                                          Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 461 Teaneck Road
                                 Ridgefield Park, NJ 07660
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Bergen
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Ajmane Balidemic                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Ajmane Balidemic                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Ajmane Balidemic                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Ajmane Balidemic                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Ajmane Balidemic
                                 Ajmane Balidemic                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 16, 2023                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Ajmane Balidemic                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ David G. Beslow                                                Date         October 16, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                David G. Beslow
                                Printed name

                                Goldman & Beslow, LLC
                                Firm name

                                7 Glenwood Avenue
                                Suite 311B
                                East Orange, NJ 07017
                                Number, Street, City, State & ZIP Code

                                Contact phone     973-677-9000                               Email address         yrodriguez@goldmanlaw.org
                                DGB-5300 NJ
                                Bar number & State




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                       A & B Fulton Corp.
                       7 Old Fulton Street
                       Brooklyn, NY 11201


                       Affirm, Inc.
                       Attn: Bankruptcy
                       650 California St, Fl 12
                       San Francisco, CA 94108


                       Affirm, Inc.
                       650 California St Fl 12
                       San Francisco, CA 94108


                       Amex
                       Correspondence/Bankruptcy
                       Po Box 981540
                       El Paso, TX 79998


                       Amex
                       Correspondence/Bankruptcy
                       Po Box 981540
                       El Paso, TX 79998


                       Amex
                       P.o. Box 981537
                       El Paso, TX 79998


                       Amex
                       P.o. Box 981537
                       El Paso, TX 79998


                       Arlind Balidemic
                       165 Hereford Street
                       Staten Island, NY 10308


                       Barclays Bank Delaware
                       Attn: Bankruptcy
                       125 South West St
                       Wilmington, DE 19801


                       Barclays Bank Delaware
                       Attn: Bankruptcy
                       125 South West St
                       Wilmington, DE 19801
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                   Barclays Bank Delaware
                   P.o. Box 8803
                   Wilmington, DE 19899


                   Barclays Bank Delaware
                   P.o. Box 8803
                   Wilmington, DE 19899


                   BHG Financial
                   201 Solar Street
                   Syracuse, NY 13204


                   Capital One
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One
                   Po Box 31293
                   Salt Lake City, UT 84131


                   Capital One
                   Po Box 31293
                   Salt Lake City, UT 84131


                   Cbna
                   Attn: Centralized BankruptcyDept
                   Po Box 790034
                   St Louis, MO 63179


                   Cbna
                   Po Box 6497
                   Sioux Falls, SD 57117


                   Citibank
                   Citicorp Cr Srvs/Centralized Bankruptcy
                   Po Box 790040
                   St Louis, MO 63179
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                   Citibank
                   Citicorp Cr Srvs/Centralized Bankruptcy
                   Po Box 790040
                   St Louis, MO 63179


                   Citibank
                   Po Box 6217
                   Sioux Falls, SD 57117


                   Citibank
                   Po Box 6217
                   Sioux Falls, SD 57117


                   Citibank/The Home Depot
                   Po Box 6497
                   Sioux Falls, SD 57117


                   Comenity Bank/Ann Taylor
                   Attn: Bankruptcy
                   Po Box 182125
                   Columbus, OH 43218


                   Comenity Bank/Ann Taylor
                   Po Box 182789
                   Columbus, OH 43213


                   Comenity Bank/Express
                   Attn: Bankruptcy
                   Po Box 182125
                   Columbus, OH 43218


                   Comenity Bank/Express
                   Po Box 182789
                   Columbus, OH 43218


                   Comenity Bank/Overstock
                   Attn: Bankruptcy
                   Po Box 18215
                   Columbus, OH 43218


                   Comenity Bank/Overstock
                   Po Box 182120
                   Columbus, OH 43218
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                   Comenity Bank/Victoria Secret
                   Attn: Bankruptcy
                   Po Box 182125
                   Columbus, OH 43218


                   Comenity Bank/Victoria Secret
                   Po Box 182789
                   Columbus, OH 43218


                   Comenitycapital/Ulta
                   Attn: Bankruptcy Dept
                   Po Box 182125
                   Columbus, OH 43218


                   Comenitycapital/Ulta
                   Po Box 182120
                   Columbus, OH 43218


                   Dema Balidemic
                   7 Old Fulton Street
                   Brooklyn, NY 11201


                   Discover Financial
                   Attn: Bankruptcy
                   Po Box 3025
                   New Albany, OH 43054


                   Discover Financial
                   Po Box 30939
                   Salt Lake City, UT 84130


                   Equifax
                   P.O. Box 740241
                   Atlanta, GA 30374-0241


                   Equifax Credit Info. Services,Inc.
                   P.O. Box 740241
                   Atlanta, GA 30374


                   Experian
                   P.O. Box 2002
                   Allen, TX 75013
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                   Experian
                   P.O. Box 4500
                   Allen, TX 75013


                   Gentrid Hasangjakaj
                   6030 Madison Street
                   Apartment 1
                   Ridgewood, NY 11385


                   Gentrid Hasangjakaj
                   D'Nonna
                   233 West Church Street
                   Lewisville, TX 75057


                   Gentrid Hasangjakaj
                   233 West Church Street
                   Lewisville, TX 75057


                   Gentrid Hasangjakaj c/o
                   Levin-Epstein & Associates
                   One Grand Central Place
                   60 East 42nd Street, 47th Floor
                   New York, NY 10165


                   Goldman Sachs Bank USA
                   Attn: Bankruptcy
                   Po Box 70379
                   Philadelphia, PA 19176


                   Goldman Sachs Bank USA
                   Lockbox 6112
                   Philadelphia, PA 19170


                   Granit Hasangjakaj
                   6030 Madison Street
                   Apartment 1
                   Ridgewood, NY 11385


                   Granit Hasangjakaj
                   233 West Church Street
                   Lewisville, TX 75057


                   Granit Hasangjakaj
                   D'Nonna
                   233 West Church Street
                   Lewisville, TX 75057
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                   Granit Hasangjakaj c/o
                   Levin-Epstein & Associates
                   One Grand Central Place
                   60 East 42nd Street, 47th Floor
                   New York, NY 10165


                   Gzim Hasangjakaj
                   6030 Madison Street
                   Apartment 1
                   Ridgewood, NY 11385


                   Gzim Hasangjakaj
                   233 West Church Street
                   Lewisville, TX 75057


                   Gzim Hasangjakaj
                   D'Nonna
                   233 West Church Street
                   Lewisville, TX 75057


                   Gzim Hasangjakaj c/o
                   Levin-Epstein & Associates
                   One Grand Central Place
                   60 East 42nd Street, 47th Floor
                   New York, NY 10165


                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   Juan Lombo c/o
                   Coran Ober P.C.
                   25-02 Francis Lewis Boulevard
                   Flushing, NY 11358


                   Julia Balidemic
                   7 Old Fulton Street
                   Brooklyn, NY 11201


                   Lendclub Bnk
                   Attn: Bankruptcy
                   595 Market Street, Suite 200
                   San Francisco, CA 94105
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                   Lendclub Bnk
                   595 Market St
                   San Francisco, CA 94105


                   Levin-Epstein & Associates
                   One Grand Central Place
                   60 East 42nd Street
                   Suite 4700
                   New York, NY 10165


                   Levin-Epstein & Associates
                   777 West Putnam Avenue
                   Suite 300
                   Greenwich, CT 06830


                   Macys/fdsb
                   Attn: Bankruptcy
                   9111 Duke Boulevard
                   Mason, OH 45040


                   Macys/fdsb
                   Attn: Bankruptcy
                   9111 Duke Boulevard
                   Mason, OH 45040


                   Macys/fdsb
                   Po Box 6789
                   Sioux Falls, SD 57117


                   Macys/fdsb
                   Po Box 6789
                   Sioux Falls, SD 57117


                   Nissan Motor Acceptance Corp/Infiniti
                   Attn: Bankruptcy
                   Po Box 660360
                   Dallas, TX 75266


                   Nissan Motor Acceptance Corp/Infiniti
                   Pob 660366
                   Dallas, TX 75266


                   Optum Bank, Inc.
                   12921 S Vista Station Blvd
                   Draper, UT 84020
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                   Optum Bank, Inc.
                   2525 Lake Park Blvd.
                   Suite 110
                   Salt Lake City, UT 84120


                   Pinnacle Bank
                   150 3rd Avenue S
                   Suite 900
                   Nashville, TN 37201


                   Santander Bank
                   Attn: Bankruptcy
                   Ma1-Mb3-01-09 Pob 841002
                   Boston, MA 02284


                   Santander Bank
                   Po Box 12646
                   Reading, PA 19612


                   State of New Jersey Division of Taxation
                   Compliance and Enforcement - Bankruptcy
                   3 John Fitch Way, 5th Floor
                   P.O. Box 245
                   Trenton, NJ 08695-0245


                   State of New York
                   Department of Taxation and Finance
                   Bankruptcy Section
                   P.O. Box 5300
                   Albany, NY 12205-0300


                   Synchrony Bank/Amazon
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Amazon
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Amazon
                   Po Box 71737
                   Philadelphia, PA 19176
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                   Synchrony Bank/Amazon
                   Po Box 71737
                   Philadelphia, PA 19176


                   Synchrony Bank/Banana Republic
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Banana Republic
                   Po Box 71727
                   Philadelphia, PA 19176


                   Synchrony Bank/Gap
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Gap
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Gap
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Gap
                   Po Box 71727
                   Philadelphia, PA 19176


                   Synchrony Bank/Gap
                   Po Box 71727
                   Philadelphia, PA 19176


                   Synchrony Bank/Gap
                   Po Box 71727
                   Philadelphia, PA 19176


                   Synchrony Bank/TJX
                   Attn: Bankruptcy Dept
                   Po Box 965060
                   Orlando, FL 32896
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                   Synchrony Bank/TJX
                   Po Box 71737
                   Philadelphia, PA 19176


                   Synchrony/PayPal Credit
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony/PayPal Credit
                   Po Box 71727
                   Philadelphia, PA 19176


                   TD Bank
                   Attn: Bankruptcy
                   Po Box 9547
                   Portland, ME 04112


                   TD Bank
                   Po Box 219
                   Lewiston, ME 04243


                   TransUnion Consumer Solutions
                   P.O. Box 2000
                   Crum Lynne, PA 19022


                   TransUnion LLC
                   2 Baldwin Place
                   PO Box 1000
                   Chester, PA 19022


                   Upgrade, Inc.
                   Attn: Bankruptcy
                   275 Battery Street 23rd Floor
                   San Francisco, CA 94111


                   Upgrade, Inc.
                   2 North Central Ave, 10th Flr
                   Phoenix, AZ 85004


                   Upstart/wsfs
                   P.o. Box 1503
                   San Carlos, CA 94070
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                   Verizon
                   Verizon Wireless Bk Admin
                   500 Technology Dr Ste 550
                   Weldon Springs, MO 63304


                   Verizon
                   500 Technology Dr
                   Weldon Spring, MO 63304


                   Volkswagen Credit, Inc
                   Attn: Bankruptcy
                   Po Box 3
                   Hillsboro, OR 97123


                   Volkswagen Credit, Inc
                   P.o. Box 3
                   Hillsboro, OR 97123


                   Wells Fargo Bank NA
                   Attn: Bankruptcy
                   1 Home Campus Mac X2303-01a 3rd Floor
                   Des Moines, IA 50328


                   Wells Fargo Bank NA
                   Attn: Bankruptcy
                   1 Home Campus Mac X2303-01a 3rd Floor
                   Des Moines, IA 50328


                   Wells Fargo Bank NA
                   Po Box 14517
                   Des Moines, IA 50306


                   Wells Fargo Bank NA
                   Po Box 14517
                   Des Moines, IA 50306
